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                      Case: 17-11417 Date Filed: 06/21/2017 Page: 1 of 1


                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

David J. Smith                                                                        For rules and forms visit
Clerk of Court                                                                        www.ca11.uscourts.gov


                                            June 21, 2017

James N. Hatten
Richard B. Russell Bldg & US Courthouse
2211 UNITED STATES COURTHOUSE
75 TED TURNER DR SW
STE 2211
ATLANTA, GA 30303-3309

Appeal Number: 17-11417-CC
Case Style: Evangelina Forsberg v. Ronald Eckland
District Court Docket No: 1:07-cv-03116-CC

The enclosed copy of this Court's Order of Dismissal is issued as the mandate of this court. See
11th Cir. R. 41-4. Counsel and pro se parties are advised that pursuant to 11th Cir. R. 27-2, "a
motion to reconsider, vacate, or modify an order must be filed within 21 days of the entry of such
order. No additional time shall be allowed for mailing."

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Julie F. Cohen, CC/lt
Phone #: (404) 335-6170

Enclosure(s)

                                                                  DIS-4 Multi-purpose dismissal letter
          Case 1:07-cv-03116-CC Document 522 Filed 06/21/17 Page 2 of 2
               Case: 17-11417 Date Filed: 06/21/2017 Page: 1 of 1


                     IN THE UNITED STATES COURT OF APPEALS

                             FOR THE ELEVENTH CIRCUIT



                                     No. 17-11417-CC




EVANGELINA FORSBERG,

                                                                           Plaintiff-Appellee,

                                           versus



RONALD ECKLAND,

                                                                        Respondent-Appellant.



                         Appeal from the United States District Court
                             for the Northern District of Georgia


Before: HULL, MARTIN and JILL PRYOR,Circuit Judges.

BY THE COURT:

       Evangelina Forsberg's motion to dismiss this appeal for lack of jurisdiction is

GRANTED. The district court's February 28,2017 order is not appealable at this time because it

only ordered Ronald Eckland to comply with its prior orders mandating that he pay $800,000,

and it did not impose any substantially new or additional contempt sanctions such as

imprisonment or penalties. See 28 U.S.C. §§ 1291, 1292; CSX Transp., Inc. v. City of Garden

City, 235 F.3d 1325, 1327 (11th Cir. 2000); Sec. & Exch. Comm'n v. Kirkland, 533 F.3d 1323,

1324-25 (11th Cir. 2008); Combs v. Ryan's Coal Co., 785 F.2d 970, 976-77 (11th Cir. 1986).

Any other pending motions are DENIED AS MOOT.
